Case 1:04-cv-01286-.]DT-STA Document 19 Filed 06/16/05 Page 1 of 2 Page|D 27

/<‘
1N THE UNITED STATES DISTRICT COURT FOR THE 15 q ja §

 

 

WESTERN DISTRICT AT JACKSON 0 _ d
n /r 14 v
4,¢;' O_
TENNESSEE RIVER HOMES, Inc. ) \ _' L" 3b
) f .L L//~U ///\ °"r
. . . p/?/~'V` 03 0/;;0/§ `:}
Plalntltf, ) . ,/:€,’0 /lS`/`,$:_
) |"/K:'/!
vs. ) Docket No: 1204 CV f 1286
)
SOUTHERN ENERGY )
HOMES, Inc. )
)
Defendant. )

 

ORDER GRANTING PLAINTIFF’S MOTION TO AMEND COMPLAINT

 

THIS CAUSE CAME BEFORE the Court upon Plaintiff’S Motion TO Arnend
Ct)rnplaint and the entire record in this eause from all Of Which the Court finds that Plaintiff’S
Motion to Amend Complaint is Wel] taken and should be granted and the same is hereby
granted

IT IS THEREFORE ORDERED, ADJUDGED AND DECREED.

<g___,

JUDGE

Qw,¢€.'zoqr
DAF

Thts document entered on the docket sheet in compliance

with nme se and.'or_?s (a) FncP on ___J_LL__Q;'__ /_,__\

s DISTRICT oURT - WESTER r)"lerCT oF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 19 in
case 1:04-CV-01286 Was distributed by faX, mail, or direct printing on
June 17, 2005 to the parties listed.

 

 

Stuart B. Breakstone
BREAKSTONE & ASSOCIATES
200 Jefferson Ave.

Ste. #725

l\/lemphis7 TN 38103

William S. Rutchow

OGLETREE DEAKINS NASH SMOAK & STEWART
424 Church St.

Ste. 800

Nashville, TN 372 l 9

Honorable J ames Todd
US DISTRICT COURT

